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                           EXHIBIT A
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                                        D E P O S I T I O N

                          HELD AT CAPE T O WN, SOUTH AF RICA




          DATE:                                                     21 SEPT EMBER 2 016


          In:


          JOHANA PAOLA B ELTRAN

          and

          INTERE X CHA NGE



          BEFORE:

                                    (TRANSPERFECT DEPOSIT ION SERVICES)



          C O M M I SSI O N E R O F O A T H S :



          ON BEHALF OF PLAINTI FF:                              MR DANIEL SCHWARTZ



          ON BEHALF OF DEFENDANT:                                   MR JUST IN WOLOSZ




          V E R I T A S A D I V I S I O N O F E O H L E G AL S E R V IC E S ( P TY ) L I M I T E D
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          MR WOLOSZ                                    123                             B DEET L EFS

          MR     WOLOSZ:             You      said     that     when      you     were      with   the

          Henstrom’s you had week ends off?

          M S D E E T LE F S : Y es.

          MR WOLOSZ: What did you do in your free time?

      5   MR SCHWARTZ: Objection. I have to just pause for a second.

          Subject to our protective order I don’t believ e that things that

          happen outside of working hours are subject to this lawsuit s o

          I’m going to say that to the extent that these questions m ak e

          Bella unc omfortable I don’t believ e she should have to answer

     10   them.

          MR WOLOSZ:               Well this par ticular question was pre open-

          ended in general.

          M R S C H WA R T Z : N o but it’ s a b o u t . . . ( i n t e r ve n t i o n ) .

          MR WOLOSZ:              I u n d e r s t a n d t h a t there has been some issue

     15   about certain sensitive areas but I think it’s fair – it’s been all

          kinds of testimony about the witness’ un happines s with the

          programme.

          MR SCHWARTZ: Mm Hm?

          MR WOLOSZ:                I’m entitled to at least ask some general

     20   questions about what kinds of things she did on free time.

          MR SCHWARTZ:                So my u nderstanding is t hat free time is not

          subject to our discussion that we can dis c uss things that

          happened during the course where she was wor king but what

          she was doing on her free time when she was not working I

     25   don’t believe is a subject for discussion here today.



          2 1 .0 9 .1 6                                                                            /…
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          MR WOLOSZ                                      124                       B DEET L EFS

          MR WOLOSZ:              What if it was thin gs that she was d oing within

          the house?           She’s testified here today about feeling like she

          wasn’t welcome. Are you saying that if I ask about – I already

          asked about whether she ever wa tched TV’s with – TV with the

      5   h o st famil y. Y o u ’ re saying that’s an im pr oper question?

          MR SCHWARTZ: What I’m saying is that if Bella does not wish

          to answer questions about how she spent her free time she

          does – I do not believ e she has to answer them.                              I’m not

          instructing her one way or the ot her. What I’m doing is saying

     10   for the record that she does not have to answer question s

          about her free time if she’s not comfortable doing so.

          M R W O LO S Z :          Okay wait, so you’re not instructing her ...

          (intervention).

          M R S C H W A R T Z : I ’ m n o t . . . ( i n t e r ven t i o n ) .

     15   MR WOLOSZ:                 Not to answer but you are telling her she

          d o e sn ’ t h a ve to?

          MR SCHWARTZ:                   I’m not instructing Bella what to say I’m

          saying that if she feels unc omfortable discus sing her free time

          she does not have to discuss her free time.                           I’m making that

     20   very clear.          I think that – pleas e tell me if that’s not a clear

          d i s ti ncti on .

          MR WOLOSZ:               It’s not a clear distinction because I think th e

          w a y t h i s w o r k s i s t h a t I g e t t o ask questions and she has to

          a n s w e r t h e m u n l e s s y o u i n s t r u c t her that she doesn’t have to.

     25   MR SCHWARTZ:                  So I don’t believe that’s the way it works.



          2 1 .0 9 .1 6                                                                    /…
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          MR W OL O S Z                                   125                           B DE ET L E FS


          T he wa y it a lso ca n wo rk is th a t som e bo d y ca n ref u se t o

          a n swe r a qu e st io n t h a t th e y’re u n comf o rta b le wit h su bje ct t o a

          p ro t e ct ive o rde r.

          MR W OL OS Z:              Oka y.       W ell we ’ve t ra ve lle d a n a wf u lly lo n g

      5   d is t a n ce f o r th is . . . (in t e rve n t io n ).

          MR S CHW A RT Z: I a gre e .

          MR W OL OS Z:               Fo r t h is d ep o sit ion f o r yo u t o cu t of f t h e

          qu e st io n “wh a t kind s of t h in gs d id yo u d o in yo u r f re e t im e ? ”

          MR S CHW A RT Z:               W ell b e lie ve m e I ’m a wa re o f h o w l o n g we

     10   t ra ve lle d I . . . (int e rve n t io n ).

          MR W OL O S Z:           If th is is t h e p o sit ion yo u wa n t t o t a ke I gu e s s

          s o be it .     I ’m go ing t o con t inu e t o ask m y qu e st ion s an d we ’ll

          s e e wh e re t he y go .

          MR S CHW A RT Z: T ha t ’s f ine .

     15   MR W OL O S Z: W ha t d id yo u d o in yo u r f re e t im e?

          MS DE ET LE FS:             I wa s p a rt of th e Re d Cro ss I wa s b usy wit h

          h e lp in g ca se s wit h t h e Red Cro ss a lo t of t h e t ime wh e n I cou ld

          ge t a wa y. I t wa s d if f icu lt t o sp e nd t im e wit h t h e ot h e r a u pa irs

          ju s t b e ca u se of t he sch ed u le s b ut we d id a lso d o t h in gs like go

     20   t o t he pa rks o r go f o r d in ne r, stuf f like t ha t bu t .

          MR W OL O S Z:             Th e Red Cro ss?               Yo u vo lu n t e e r f o r t h e Re d

          Cro ss?

          MR S CHW A RT Z: S o I ’m ju st ma kin g t h e sam e o b je ct ion t h at I

          h a ve a lre a d y ma de wit h re sp e ct t o f ree t ime .

     25   MS DE E TL E FS: Ye s.



          2 1 . 09 . 16                                                                             /…
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          MR WOLOSZ                                  139                  B DEET L EFS

          was doing. That stipend was low f or m e . I r e a l l y d i d t h i n k t h a t

          they weren’t paying us enough.

          MR WOLOSZ: My question is a li ttle different. Do you believ e

          while you were working as an au pair that you were owed

      5   money by Cultural Care?

          MS DEETLEFS:             When you say “owed” is that something that

          was promised and not delivered on ? Is that what you mean by

          “owed”?

          MR WOLOSZ: How do you define “owed”?

     10   MS DEETLEFS:              Owed to me was something that someone

          said “I’m going to give you” and didn’t give you.

          MR WOLOSZ:             Defining the word “owed” however you would

          define it did you believe when y ou were working as an au pair

          that you were owed money by Cultural Care?

     15   MS DEETLEFS: They paid what they said they would pay.

          MR WOLOSZ: So the answer’s no?

          M S D E E T LE F S : Y es.

          MR WOLOSZ: Did Cultural Care ever pay you anything?

          MS DEETLEFS: No.

     20   M R WO LOS Z : We re y ou ever an em ployee of Cultur al Car e?

          M R S C H W A R T Z : O b j e c t i on .

          M S D E E T LE F S : Y es.

          MR WOLOSZ:              Why do you say you were an employee of

          Cultural Care?

     25   MS DEETLEFS:              From the start they were the people that



          2 1 .0 9 .1 6                                                              /…
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          MR WOLOSZ                              142                        B DEET L EFS

          MS DEE TLEFS:         Also in S alt Lake – oh no, I think she was in

          Logan or some – it was like – I don’t know how you define it it

          was in Salt Lake but a sub section.

          M R W O LO S Z : H o w d i d y o u m e e t her ?

      5   MS DEETLEFS: At an au pair meeting.

          MR WOLOSZ: Was she also sponsored by Cultural Care?

          M S D E E T LE F S : Y es.

          MR WOLOSZ:           How often did you – let’s start with in-person,

          how often did you see Ms Hattingh in person while you were

     10   here as a – while you were in the United States as an au pair?

          MS DEETLEFS:            A lot.    Every free chance we got after she

          arrived we would spend together.

          MR WOLOSZ: Can you help me understand what that means ?

          Is it once a week, twice a week, three times a week?

     15   MS DEETLEFS:            Oh?      It was dif f e r e n t but a t l e a s t o n c e a

          w e e k.

          MR WOLOSZ:           And what did you tell Ms Hattingh about the

          stipend amount?

          MS DEETLEFS:             We discussed that it was too low, we

     20   discussed that it was difficult to buy everything you needed to

          b uy.      We di scusse d that it was difficult to save.           Do you jus t

          want it in regards to the stipend?

          M R W O LO S Z : J a.

          MS DEETLEFS: Okay. We discussed that it was difficult to do

     25   public transport with the stipend as it could only go that far. I



          2 1 .0 9 .1 6                                                                 /…
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          MR WOLOSZ                           148                       B DEET L EFS

          that I don’t agree.

          MR SCHWARTZ: Questions about a boyfriend you don’t agree

          that that is out of bounds given the rulings that they’ve already

          made?

      5   MR WOLOSZ:         I think there’s a rule of reason here.         This was

          an initial question it’s not like I asked her 15 ques t ions and

          asked for identity and – I mean you know we’re trying to

          understand what her life was like becau se it is relevant to this

          case. I mean she’s putting evidence in this case things about

     10   how she had a hard time travelling and you know some context

          is appropriate.

          MR SCHWARTZ:               I don’t think context about somebody’s

          personal life or love life is appr opriate for this discussion an d

          I’m confident that we would be bac ked up by the magistrate

     15   giving the rulings.

          M R W O LO S Z : I ’m g o i n g t o l e t i t go but I’m reserving our right.

          MR SCHWARTZ: Okay.

          MR WOLOSZ:          Did you travel at all?          (Inaudible) … iss u e

          again. Did you travel outside of Salt Lake City at all while you

     20   were an au pair?

          MS DEETLEFS: Aside from coming from New York?

          M R W O LO S Z : Y e s .

          MS DEETLEFS: Yes, I did.

          MR WOLOSZ: Where did you go?

     25   MS DEETLEFS:          I’m going to raise the same objection that I



          2 1 .0 9 .1 6                                                            /…
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          MR WOLOSZ                                   153                            B DEET L EFS

          M R S C H WA R T Z : T h a nk you.

          MR WOLOSZ:             Let me know when you’ve take a look and I’ll

          start my questions.

          MS DEETLEFS: Okay.

      5   MR WOLOSZ: For counsel on the phone this is Exhibit 67 it’s

          a single page doc ument which is base labelled CC00 001299.

          MS DEETLEFS: Okay.

          MR WOLOSZ: Have you see Exhibit 67 before?

          MS DEETLEFS: No.

     10   MR WOLOSZ: You testified earlier about why you believe it is

          that ... (intervention).

          MS (??): (Inaudible).

          MR WOLOSZ: Hello? Is everyone still there on the phone?

          MS (??): (Inaudible).

     15   M R W O LO S Z : Y e a h w e g o t t h e s a me . . . ( i n t er v e n t i o n ) .

          MS (??): (Inaudible).

          M R W O LO S Z : We g o t t h e s a m e mes s a g e .

          MR (??): (Inaudible).

          M R W O LO S Z : O ka y . S o w e can s t rike my question because I

     20   don’t remember how far I got with it .                     So I’ll just represent to

          you that this is a document Cult ural Care has produced in this

          case which is a log of comm ents that were entered afte r

          conversations with the Henstrom’s . Earlier you testified about

          why it is you thought that y ou didn’t feel welcome in the

     25   Henstrom’s house. Do you remember that?



          2 1 .0 9 .1 6                                                                        /…
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           MR WOLOSZ                                     154                         B DEET L EFS

           M S D E E T L E F S : Y es.

           MR WOLOSZ:              And you said that you believ e d it was because

           of the knee issue that we discussed earlier, is that right?

           M S D E E T LE F S : Y es.

       5   MR WOLOSZ: I want to direct your attention to – close to the

           bottom of the page where the co mments are and I’m going to

           just read a portion of this.                  I can't tell exactly whic h date it

           lines up with but I’ll be starting wit h the line that says, “spoke

           with email today”. Do you see that?

     10    M S D E E T LE F S : Y es.

           MR WOLOSZ:                “ S h e w a n t e d t o m ak e s u r e t h e ear l i e r l e a v e

                                    date for Bella wo uld still be in effect if she

                                    extends.         She als o wanted to make sure that

                                    when Bella extends the new family knows a

     15                             few things that have been issues with them.”

           Let me stop for a second.                    At one point you were looking t o

           extend y our stay in the au pair programme, correct?

           M S D E E T LE F S : Y es.

           MR WOLOSZ:              And if you had extended your stay it would not

     20    have been with the Henstrom’s, correct?

           MS DEETLEFS: No.

           M R W O LO S Z : S o . . . ( i n t e rv e n t i o n ) .

           MS DEETLEFS: Well yes. I don’t know like it would have – it

           would not have been with the Henstrom’s.

     25    M R WOLO S Z : R i gh t. So you would have gone to the matchin g



           2 1 .0 9 .1 6                                                                          /…
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          MR W OL O S Z                            155                         B DE ET L E FS


          p ro ce ss a ga in a nd t rie d t o ma t ch wit h a no t he r f am ily, ri gh t ?

          MS DE E TL E FS: Ye s.

          MR W OL O S Z: O ka y. P ickin g u p wh e re I lef t of f it sa ys:

                                “T h e kne e in ju ry a n d no t b e in g t o ld ab ou t it

      5                         wa s o n e .    B e lla is a ra cist a n d t h at h a s re a lly

                                b e en ha rd f o r t h e f a m ily. ”

          Ra cist I be lie ve is m issp e lt . P ickin g u p a ga in:

                                “S h e ha s lim it ed B e lla ’s t ime wit h t h e o ld e r

                                kid s b e ca u se of it .        Be lla m a ke s co mm en t s

     10                         a n d do e s n ot se e th e wro n g in it . She f e e ls it

                                is B e lla ’s up b rin gin g a n d wa y S o u t h Af rica is

                                b u t it is no t a pp ro p ria t e in t he ir ho m e o r in

                                A m e rica . I to ld he r s h e ca n p u t t h e go o d an d

                                t h e b a d in th e ref ere n ce le tt e r she doe s. ”

     15   Did t h e He n st ro m ’s e ve r t e ll yo u t h a t t h e y b e lie ve d th a t yo u

          we re a ra cist ?

          MS DE E TL E FS: No .

          MR W OL O S Z:        Did t h e y e ve r t e ll yo u t ha t th e y b e lieve d yo u

          we re m a kin g co mm e nt s t ha t th e y t ho u gh t we re in a pp ro p ria t e?

     20   MS DE E TL E FS: No .

          MR W OL O S Z: A re yo u ra cist ?

          MS DE E TL E FS: No .

          MR S CHW A RT Z: O b je c t ion .

          MR W OL O S Z: W ha t is yo u r vie w o f p e op le wh o a re m in o rit ie s?

     25   MR S CHW A RT Z:           O b je ct ion .   A ctua lly o b je ct io n on p riva c y



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          MR W OL O S Z                           183                        B DE ET L E FS


          MS DE E TL E FS:          Ma yb e o n ce b rief ly. I d id n ’t k n o w sh e wa s

          a ls o an L CC. Sh e ’d ju st go th e ro le th e n .

          MR W OL O S Z: How lo n g d id yo u st ay wit h h e r?

          MS DE ET L E FS: Ma yb e a we e k an d a f e w d a ys. I ’m n ot su re , I

      5   c a n ’t rem em be r.

          MR W OL O S Z: W he re a re we up t o? (Mu t e d e xch an ge s).

          MR S CHW A RT Z: I t h in k th e n e xt o ne is 7 4 .

          MR W OL O S Z: T han k yo u .

          MS DE E TL E FS: Th a n k yo u .

     10   MR W OLO S Z:           P le a se t a ke a mo me n t t o f am ilia rise yo u rse lf

          wit h t h is.

          MS DE E TL E FS: Ye s.

          MR W OL O S Z: W ha t is t h is d o cu me nt ?

          MS DE E TL E FS: I t’s m y e xit in t e rvie w.

     15   MR W OL O S Z: Have yo u se e n th is bef o re ?

          MS DE E TL E FS: Ye s.

          MR W OL O S Z: W ha t is E xh ib it A?

          MS DE E TL E FS: Exh ib it A wa s t h is t h in g a t th e b a ck.

          MR W OL O S Z: Have yo u se e n E xh ib it A bef o re?

     20   MS DE E TL E FS: Ye s.

          MR W OL O S Z: W ho d raf te d E xh ib it A?

          MS DE E TL E FS: Ale x.

          MR S CHW ART Z:           I ’m go in g to inf o rm m y clie n t n ot to go in to

          a n y d iscu ssio n s she ma y h a ve h a d wi t h Co un se l.

     25   MR W O LO S Z: B y A le x yo u ’re re f e rrin g t o Co u n se l in th is ca se ,



          2 1 . 09 . 16                                                                 /…
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           MR WOLOSZ                                    184                              B DEET L EFS

           Alexander Hood?

           M S D E E T L E F S : I t h i n k s o, f r o m T ow a r d s J u s t i c e .

           M R W O LO S Z : N o w , t h e ( i ndi s t i n c t ) a r e :

                           “I was informed that I was discharged as a result of

       5                   my involvement as a Plaintiff in the matter pendin g

                           against        Cultural        Care        as     recorded        in   the

                           Washingt on Post.”

                   You see that?

           MS DEETLEFS: Yes.

     10    MR WOLO SZ:            But I think you just ified earlier that it was your

           understanding that you were disc harged as a result of the

           article, not as a result of your invo lvement in the la w suit. Is

           that right?

           MS DEETLEFS:               With the article, they learned about the law

     15    suit, so definitely both, the law suit and the article.

           MR WOLOSZ: What do you mean by “Cultural Care’s on notic e

           of the discharge and the fact that it has put me in an extremely

           difficult situation”?

           M S D E E T L E F S : I t ’ s t h e fact that I had several hours to get out

     20    of the house, that I didn’t even have proper time to pack. The

           fact that she changed the locks w hen I went to get coffee that

           m o r n i n g . I t w a s t h e f a c t t ha t I didn’t have even enough time to

           close my bank account properly.

           MR WOLOSZ:              But Cultural Care a r r a n g e d f o r y o u t o h a v e a

     25    place to stay with the local child care consultant, right?



           2 1 .0 9 .1 6                                                                          /…
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           MR WOLOSZ                             188                           B DEET L EFS

                   So before the break you explained that you, although you

           had initially attempted to re-match, that you cancelled tha t

           process and decided to come back to South Africa. Had you

           had any contact with the Henstroms since you left the United

       5   States?

           MS DEETLEFS: No.

           MR WOLOSZ: Had you taken any course since you returned to

           South Africa?

           MS DEETLEFS: When you say courses, like training …?

     10    MR WOLOSZ: I actually was talkin g about colleg e courses.

           MS DEETLEFS:          I don’t think so. I o n l y r e c e n t l y s t a r t e d . But

           r i gh t w h e n I g o t ba ck, I didn’t take any.

           MR WOLOSZ: But you have recently started taking courses?

           MS DEETLEFS: Yes.

     15    MR WOLOSZ: What are you studying?

           MS DEETLEFS: For a certificate in banking.

           MR WOLO SZ:        What are your – what are your long term plans

           professionally? W hat would you lik e to do?

           MS DEETLEFS: I would like ( inter vention) .

     20    MR SCHWARTZ:           I’m just making a n o b j e c t i o n w i t h r e s p e c t t o

           the same privacy issues we discussed earlier.

           MS DEETLEFS: I’d like to be a psychologist.

           MR WOLOSZ:          Do you see any connection between skills or

           experiences you had as an au pair and that desire to become a

     25    psychologist?



           2 1 .0 9 .1 6                                                                    /…
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           MR WOLOSZ                                189                          B DEET L EFS

           MS DEETLEFS: Yes.

           M R W O LO S Z : Wha t ’ s t h a t ?

           MS DEETLEFS:            Just because I would like to work with kids .

           And I did gain s ome knowl edge about, not only kids, but

       5   different views, cultural views on wo rking with kids. So – yes.

           MR WOLOSZ:            That’s interesting, the different cultural views

           on working with kids.

           MS DEETLEFS: Yes.

           MR WOLOSZ: What do you mean by that?

     10    MS DEETLEFS:            So every culture has their own way of – for

           instance, teaching a baby how to walk, or the first words they

           say. It’s small things like that that’s ver y inter esting becaus e

           everyone has a different way of doing it. And even from one

           country to the other it’s different.

     15    MR WOLOSZ:            So what did you observe about those things

           when you were in the United States t h a t w a s d i f f e r e n t f r o m t h e

           way families appro ach those things in South Africa?

           MS DEETLEFS:            In my experience, or what I s aw, is t hat t he

           way that American families – and saying this, I only saw two or

     20    three maybe – was they have a very soft approach wh en

           disciplining kids. And I really l i k e d t h a t a s p e c t o f i t .

           MR WOLOSZ:            So does that put you in a unique position to

           contribute to your classes now when you are talking about

           these kinds of issues?

     25    MS DEETLEFS: Yes.



           2 1 .0 9 .1 6                                                                 /…
